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 8
                                    UNITED STATES DISTRICT COURT
 9                                 EASTERN DISTRICT OF CALIFORNIA

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     United States of America,                         Case No.: 1:16-cr-00176-DAD-BAM
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                 Plaintiff,
12
         vs.                                           STIPULATION TO CONTINUE
13                                                     SENTENCING ON FEBRUARY 18, 2020
     Rashwan Alkobadi,                                 at 10:00 A.M. AND ORDER
14
                 Defendant.
15

16   To the parties, counsel, and the above-entitled court:
17      It is hereby stipulated between the Defendant, Rashwan Alkobadi, by and through his counsel,
18   Nicco Capozzi, and the Plaintiff, United States of America, by and through Assistant United States
19   Attorney, Kim Sanchez, that the sentencing hearing originally scheduled for February 18, 2020 at
20   10:00 a.m., shall be continued to May 11, 2020 at 10:00 a.m. due to being recently retained on this
21
     case and will need more time to review; in addition counsel Capozzi is currently scheduled for trial in
22
     Fresno starting Tuesday.
23
        IT IS SO STIPULATED.
24
        Dated: February 14, 2020              /s/Nicco Capozzi
25                                                Nicco Capozzi
                                                  Attorney for Defendant
26
        Dated: February 14, 2020              /s/ Kim Sanchez
27
                                                  Kim Sanchez
28                                                Attorney for the United States


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 1                                                    ORDER
 2       For reasons set forth above, the continuance requested by the parties is granted for good cause
 3   and in the interest of justice. Accordingly, the sentencing hearing currently scheduled for February
 4
     18, 2020 at 10:00 a.m. is continued to May 11, 2020 at 10:00 a.m. No further continuances of the
 5
     sentencing in this matter will be granted absent a compelling showing of good cause.1
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     IT IS SO ORDERED.
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 8       Dated:    February 14, 2020
                                                       UNITED STATES DISTRICT JUDGE
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       The stipulation states that current defense counsel was “recently retained on this case,” however the
28   docket reflects that counsel filed his notice of appearance on November 26, 2019, over two and one
     half months ago.

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